                  UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                         Case No. 1:20-199

 MOLLY CORDELL
                    Plaintiff,
              vs.
 CHEROKEE COUNTY; CHEROKEE
 COUNTY DEPARTMENT OF
 SOCIAL SERVICES; SCOTT
 LINDSAY both in his individual
 capacity and official capacity as              NOTICE OF SETTLEMENT
 attorney for Cherokee County
 Department of Social Services;
 CINDY PALMER, in both her
 individual capacity and her official
 capacity as Director of Cherokee
 County Department of Social Services;
 DSS SUPERVISOR DOE #1, et al.,
                    Defendants.


      The Parties hereby inform the Court that they have reached a full and final

agreement on all issues in this case.

      The terms of this Agreement are as follows:


      1. Defendants shall Plaintiff the sum of four million dollars within 30 days of

          the date of this Agreement;




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      2. Plaintiff shall execute releases as required by the Defendants in a form

         acceptable to both Parties, and the Plaintiff shall file a voluntary

         dismissal with prejudice upon receipt and disbursement of the said

         proceeds; and

      3. Each party shall bear their own costs and fees.


      Respectfully submitted, this the 6th day of December, 2021.



 s/David A. Wijewickrama                       s/D. Brandon Christian
 Attorney for Plaintiff                        Attorney for Plaintiff

s/ Ron Moore
Attorney for Plaintiff

 s/Melissa Jackson                             s/Mary Euler
 Attorney for Plaintiff                        Attorney for Cindy Palmer in her
                                               individual capacity
 s/Patrick Flanagan
 Attorney for Scott Lindsay in his
 individual
 capacity



                                       s/Sean F. Perrin
                                       Attorney for Defendants Cherokee County,
                                       Cherokee County Department of Social
                                       Services, Scott Lindsay in his official
                                       capacity and Cindy Palmer in her official
                                       capacity




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